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lN THE UNITED STATES DISTRlCT COUR%”¢Z2 S};\>:
FOR THE WESTERN DISTRICT OF TENN SSEE 6 0

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HOWARD RUSSELL SCALES,

Plaintiff,
VS. No. l-O4-l3lZ-T-An

CHARLES TRAUGHBER, er al.,

\_/\-_/\-_/\-/\_/\-/\_/\_-/\-_/

Defendants.

 

ORDER DENYING DEFENDANTS’ MOTION TO DISMISS AS MOOT

 

Plaintifi` Howard Russell Scales, inmate number 109183 at the Northwest Correctional
Complex in Tiptonville, Tennessee, brought this action pursuant to 42 U.S.C. § 1983, alleging that
his due process rights Were Violated during his parole hearing on August 2, 2004. Defendants flled
this motion to dismiss under Fed. R. Civ. 12(b)(6). HoWever, since the motion Was iiled, Plaintiff
has dismissed his claim against Defendants because he Was granted parole Consequently,
Defendants’ motion to dismiss is DENIED as moot.

lT IS SO ORDERED.

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JAM lD. TODD
UNIT STATES DISTRICT JUDGE

This document entered on the docket she tIn compliance
with Rule 58 and.'or_79 (a) FRCP on ' 1 las |9 5

 

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This notice confirms a copy of the document docketed as number lO in
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Honorable .l ames Todd
US DISTRICT COURT

